                    IN THE SUPREME COURT OF NORTH CAROLINA

                                       2021-NCSC-93

                                       No. 418A20-1

                                   Filed 27 August 2021


     IN THE MATTER OF: A.P.W., A.J.W., H.K.W.


           Appeal pursuant to N.C.G.S. § 7B-1001(a1)(1) and on writ of certiorari

     pursuant to N.C.G.S. § 7A-32(b) from orders entered on 4 March 2019 by Judge David

     V. Byrd and on 30 June 2020 by Judge Jeanie R. Houston in District Court, Wilkes

     County. This matter was calendared in the Supreme Court on 21 June 2021 but

     determined on the record and briefs without oral argument pursuant to Rule 30(f) of

     the North Carolina Rules of Appellate Procedure.


           Vannoy, Colvard, Triplett &amp; Vannoy, P.L.L.C., by Daniel S. Johnson, for
           petitioner-appellee Wilkes County Department of Social Services.

           Michelle FormyDuval Lynch for appellee Guardian ad Litem.

           Parent Defender Wendy C. Sotolongo and Assistant Parent Defender J. Lee
           Gilliam for respondent-appellant father.

           Anné C. Wright for respondent-appellant mother.


           BERGER, Justice.

¶1         Respondent-mother and respondent-father appeal from the trial court’s orders

     terminating their parental rights in the minor children “Ava,” born on January 16,
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     2014, “Aiden,” born on June 16, 2012, and “Hunter,” born on February 14, 2011. 1 In

     an order entered on December 18, 2020, this Court also allowed respondents’ joint

     petition for writ of certiorari to review the trial court’s March 4, 2019 permanency

     planning order eliminating reunification from the children’s permanent plan. See

     N.C.G.S. § 7B-1001(a1)(2), (a2) (2019); see also N.C.R. App. P. 21(a)(1) (authorizing

     certiorari review “when the right to prosecute an appeal has been lost by failure to

     take timely action[.]”).   We now affirm the trial court’s orders with regard to

     respondent-mother and respondent-father.

                                   I.   Procedural History

¶2         On January 2, 2017, the Wilkes County Department of Social Services (DSS)

     received a child protective services (CPS) report stating that Ava, Aiden, and

     Hunter’s home lacked heat and running water and had holes in the floor. The same

     day, law enforcement came to the residence to investigate a reported robbery in which

     a man wearing a ski mask brandished a toy gun while attempting to steal medication

     belonging to a friend of respondent-mother. Officers found drug paraphernalia in the

     home, and two of the children identified respondent-father as the robber.               Law

     enforcement reported finding used hypodermic needles in the home, raising “concerns

     about improper supervision and ongoing substance abuse.” DSS was notified that

     day that “mom and the children resided in a home with no running water or heat and



           1 We use these pseudonyms to protect the juveniles’ identities and for ease of reading.
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     holes in the f1oor.” In subsequent drug screens, respondent-mother tested positive

     for   THC    and    benzodiazepine.2       Respondent-father    tested   positive   for

     methamphetamine and benzodiazepine.

¶3         On January 3, 2017, DSS obtained nonsecure custody of the children and filed

     petitions alleging they were neglected juveniles under N.C.G.S. § 7B-101(15) (2019).

     Specifically, the petitions alleged that the children were neglected because they did

     not receive proper supervision from their parents and lived in an environment

     injurious to their welfare. Because of this, respondent-mother was asked to find

     appropriate housing for the family, and she subsequently moved in with the

     children’s paternal grandmother. Respondent-father “was asked to move out of the

     home due to inappropriate housing arrangements.”

¶4         After a hearing on February 6, 2017, the trial court entered an order

     adjudicating the children neglected. In lieu of written findings, the trial court found

     that respondents had stipulated to the facts stated in the court summary prepared

     by DSS and incorporated the document into the order by reference. According to the

     court summary, respondents’ CPS history began in 2013 when one child fell and hit

     his head while under respondent-mother’s care, though the case was closed because

     neglect was not substantiated. Then, in 2016, there were concerns of “substance




           2  Respondent-mother    has   a valid     prescription for Xanax, a   brand-name
     benzodiazepine.
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     abuse by the parents and improper care of the children.” Later that year, all three

     children underwent medical exams which showed medical or remedial neglect. Due

     to this, the family went into case management, and “[b]oth parents were

     substantiated on for improper medical/remedial care.”

¶5         Per a separate disposition order, legal and physical custody of the juveniles

     was to remain with DSS. The trial court granted respondents semi-monthly, one-

     hour periods of supervised visitation, “contingent upon clean drug screens.” The court

     ordered DSS to conduct a home study of the paternal grandmother.

¶6         Respondents each entered into a DSS case plan requiring them to provide DSS

     with a written statement of the reasons their children were placed in foster care.

     Further, both respondents had to obtain substance abuse assessments; complete

     parenting classes; obtain and maintain stable employment and appropriate housing;

     sign a voluntary support agreement requiring payment of timely child support; and

     attend regular visitation with the children, conditioned upon negative drug screens.

     Respondent-father was also required to complete anger management classes.

¶7         At the initial review hearing on June 5, 2017, the trial court found respondent-

     mother had “completed most of the requirements of her family service case plan[,]”

     including substance abuse treatment and parenting classes. Respondent-mother had

     signed a voluntary support agreement and had a “small child support arrearage.”

     She had submitted to random drug screens and regularly attended visitation with
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     the children. However, while DSS was unable to inspect the interior of respondent-

     mother’s home at that time, the exterior was found to be in poor condition.

     Respondent-father had “made practically no progress” on his case plan, and he was

     not attending visitations or maintaining regular contact with the social worker.

¶8         On December 4, 2017, the trial court held a permanency planning hearing and

     established a primary permanent plan of reunification with a concurrent plan of

     custody with a court-approved caretaker. At the time of the hearing, respondent-

     father was incarcerated for a probation violation and had made no child support

     payments despite entering into a voluntary support agreement. The trial court found

     that respondent-mother was unemployed and “behind in her child support[.]”

     Additionally, an inspection of respondent-mother’s home revealed that the condition

     of her residence was unclean, “very cluttered[,]” and “not appropriate at this time.”

     Respondent-mother was living with her boyfriend Thomas and their infant child. The

     trial court further found that Ava, Aiden, and Hunter had “indicated that they are

     afraid of [Thomas,]” and that respondent-mother had “advised the social worker that

     she will separate herself from [Thomas] if necessary to regain custody of her

     children.”

¶9         Following a review hearing on September 18, 2018, the trial court entered a

     permanency planning order on March 4, 2019. This order eliminated reunification

     and changed the primary plan to adoption with the secondary plan being custody with
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       an approved caretaker. The court relieved DSS of further reunification efforts while

       noting that “[e]ach parent, through counsel, preserves their right to appeal the

       Court’s decision to cease reunification efforts.” However, respondents failed to file

       written notice preserving their right to appeal the order eliminating reunification

       from the permanent plan, as required by N.C.G.S. § 7B-1001(a1)(2) which states

                    (a1) In a juvenile matter . . . only the following final orders
                    may be appealed directly to the Supreme Court:

                    ....

                    (2) An order eliminating reunification as a permanent plan
                    under G.S. 7B-906.2(b), if all of the following conditions are
                    satisfied:

                    a. The right to appeal the order eliminating
                    reunification has been preserved in writing within
                    30 days of entry and service of the order.

                    b. A motion or petition to terminate the parent’s
                    rights is filed with 65 days of entry and service of the
                    order eliminating reunification and both of the
                    following occur:

                    (1) The motion or petition to terminate rights
                        is heard and granted.

                    (2) The order terminating parental rights is
                        appealed in a proper and timely manner.

       N.C.G.S. § 7B-1001(a1)(2) (2019).

¶ 10         DSS later filed petitions to terminate respondents’ parental rights in Ava,

       Aiden, and Hunter. On June 9, 2020, the trial court held a hearing on the petitions,
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       and on June 30, 2020, the trial court entered orders terminating respondents’

       parental rights.

¶ 11         In adjudicating grounds for termination, the trial court concluded respondents

       had: (1) neglected the children under N.C.G.S. § 7B-1111(a)(1); (2) willfully left the

       children in a placement outside the home for more than twelve months without

       making reasonable progress to correct the conditions that led to their removal under

       N.C.G.S. § 7B-1111(a)(2); and (3) willfully failed to pay a reasonable portion of the

       children’s cost of care in DSS custody under N.C.G.S. § 7B-1111(a)(3). With regard

       to respondent-mother, the trial court further concluded the children were dependent

       juveniles under N.C.G.S. § 7B-1111(a)(6), because she was incapable of providing

       proper care and supervision for the children and lacked an appropriate alternative

       childcare arrangement. The trial court then considered the dispositional factors in

       N.C.G.S. § 7B-1110(a) and determined it was in the children’s best interests that

       respondents’ parental rights be terminated.

¶ 12         Respondents filed notice of appeal from the termination orders. By an order

       entered on December 18, 2020, this Court allowed respondents’ joint petition for writ

       of certiorari to review the March 4, 2019, permanency planning order eliminating

       reunification from the permanent plan as part of their appeal.

            II.   Order Eliminating Reunification from the Permanent Plan

¶ 13         Respondents contend the trial court erred when it eliminated reunification
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       from the children’s permanent plan in the March 4, 2019, permanency planning

       order. We disagree.

       A. Standard of review

¶ 14                 This Court’s review of a permanency planning review order
                     “is limited to whether there is competent evidence in the
                     record to support the findings [of fact] and whether the
                     findings support the conclusions of law.” The trial court’s
                     findings of fact are conclusive on appeal if supported by any
                     competent evidence.”

       In re H.A.J., 377 N.C. 43, 2021-NCSC-26, ¶ 14 (quoting In re L.M.T., 367 N.C. 165,

       168, 752 S.E.2d 453, 455 (2013)). Uncontested findings are binding on appeal. Id.

       ¶ 15.

¶ 15           The trial court’s dispositional choices—including the decision to eliminate

       reunification from the permanent plan—are reviewed for abuse of discretion. In re

       J.H., 373 N.C. 264, 267–68, 837 S.E.2d 847, 850 (2020). “An abuse of discretion occurs

       when the trial court’s ruling is so arbitrary that it could not have been the result of a

       reasoned decision.” Id. at 268, 837 S.E.2d at 850.

¶ 16           When this Court reviews an order eliminating reunification from the

       permanent plan with an order terminating parental rights, “we consider both orders

       together” as provided in N.C.G.S. § 7B-1001(a2). In re L.M.T., 367 N.C. 165, 170, 752

       S.E.2d 453, 457 (2013).      Therefore, “incomplete findings of fact in the cease
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       reunification order may be cured by findings of fact in the termination order.”3 Id.
¶ 17          As an initial matter, we note the record on appeal does not include a transcript

       of the September 18, 2018, permanency planning hearing or a narrative of the

       hearing testimony. See N.C R. App. P. 9(a)(1)(e) (stating that the record on appeal

       shall contain information “necessary for an understanding of all issues presented on

       appeal.”) Because respondents have failed to include a narration of the evidence, or

       a transcript of the trial court proceedings with the record, we presume the findings

       made by the trial court are supported by competent evidence. See Summerlin v.

       Carolina &amp; N.W. Ry. Co., 133 N.C. 550, 557, 45 S.E. 898, 901 (1903) (deciding that it

       is the responsibility of the appellant to assemble the record in such a way as to show

       error, otherwise the Court cannot presume error.); see also In re A.R.H.B., 186 N.C.

       App. 211, 219, 651 S.E.2d 247, 253 (2007), appeal dismissed, 362 N.C. 235, 659 S.E.2d

       433 (2008) (finding that in the absence of a transcript “[t]he longstanding rule is that

       there is a presumption in favor of regularity and correctness in proceedings in the

       trial court, with the burden on the appellant to show error.” (citation and quotation


              3 At the time of our decision in In re L.M.T., the parent’s right to appeal from a
       permanency planning order was triggered by the trial court’s ceasing of reunification efforts,
       rather than its elimination of reunification from the permanent plan as in current N.C.G.S.
       §§ 7B-1001(a)(5) and (a1)(2) (2019). In re L.M.T., 367 N.C. at 167–70, 752 S.E.2d at 455–57
       (discussing former N.C.G.S. §§ 7B-507(b)(1) and 7B-1001(a)(5) (2011)). Section 7B-906.2 now
       directs the trial court to “order the county department of social services to make efforts
       toward finalizing the primary and secondary permanent plans” until permanence is achieved.
       N.C.G.S. § 7B-906.2(b). The elimination of reunification from the permanent plan thus
       implicitly relieves the department of its duty to undertake reunification efforts pursuant to
       N.C.G.S. § 7B-906.2(b).
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       marks omitted)). To the extent respondents challenge any of the findings in the

       March 4, 2019, permanency planning order on evidentiary grounds, those challenges

       cannot succeed.

       B. Sufficiency of findings

¶ 18          Respondent-mother contends the permanency planning order lacks the

       findings required by N.C.G.S. § 7B-906.1(d)(3) (2019) and N.C.G.S. § 7B-906.2(b)

       (2019) to eliminate reunification from the children’s permanent plan.

¶ 19          Subdivision 7B-906.1(d)(3) applies at all review and permanency planning

       hearings following an adjudication of abuse, neglect, or dependency. This statute

       requires the trial court to “make written findings regarding . . . [w]hether efforts to

       reunite the juvenile with either parent clearly would be unsuccessful or inconsistent

       with the juvenile’s health or safety and need for a safe, permanent home within a

       reasonable period of time.”4 N.C.G.S. § 7B-906.1(d)(3).

¶ 20          Subsection 7B-906.2(b) provides, in pertinent part, that reunification shall

       remain a part of the juvenile’s permanent plan unless the trial court “made findings

       under . . . G.S. 7B-906.1(d)(3) . . . or the court makes written findings that



              4 Subsection 7B-906.1(d) includes seven subdivisions and provides that, “the court

       shall consider the following criteria and make written findings regarding those that are
       relevant[.]” N.C.G.S. § 7B-906.1(d). This Court has construed virtually identical language in
       N.C.G.S. 7B-1110(a) (2019)—which governs the dispositional stage of a termination of
       parental rights proceeding—“to require written findings only as to those factors for which
       there is conflicting evidence.” In re E.F., 375 N.C. 88, 91, 846 S.E.2d 630, 633 (2020) (citing
       In re A.R.A., 373 N.C. 190, 199, 835 S.E.2d 417, 424 (2019)).
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       reunification efforts clearly would be unsuccessful or would be inconsistent with the

       juvenile’s health or safety.”5    N.C.G.S. § 7B-906.2(b).      “The trial court’s written

       findings must address the statute’s concerns but need not quote its exact language.”

       In re L.M.T., 367 N.C. at 168, 752 S.E.2d at 455 (interpreting former N.C.G.S. § 7B-

       507(b)(1) (2011)).

¶ 21          The trial court made the following findings with regard to respondent-mother’s

       progress and prospects for reunification:

                     5.    The mother signed her case plan on February 27,
                     2017. She completed some of the items of her case plan.
                     She completed substance abuse classes, parenting classes,
                     and signed a voluntary support agreement. The mother
                     has made a few child support payments. She has a child
                     support arrearage in excess of $2,000.00. The mother’s
                     employment status is unclear. She has reported work at
                     Lydall, Van Heusen, the Candle Company, and Tyson.

                     6.     The condition of the mother’s home has been a
                     concern throughout the pendency of these cases. Each time
                     the mother has moved she has failed to keep a suitable and
                     clean residence.

                     7.       The mother has lived with her boyfriend, Thomas
                     . . ., throughout the pendency of these cases. The children
                     have consistently indicated that they are afraid of
                     [Thomas] and they have described, in detail, incidents of
                     domestic violence perpetrated by [Thomas] against their
                     mother. [Thomas] signed a case plan; however, he did not
                     complete the plan with the exception of taking a few
                     random drug screens.


              5 Subsection 7B-906.2(b) also allows the trial court to exclude reunification from the

       permanent plan if “the court made findings under G.S. 7B-901(c) or G.S. 7B-906.1(d)(3), [or]
       the permanent plan is or has been achieved . . . .” N.C.G.S. § 7B-906.2(b).
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....

9      Both parents have been allowed supervised
visitation, twice monthly for one hour, contingent on
passing drug screens. The mother missed visits from April
through July 2018. The mother’s visits have been
appropriate and she has done well with the children during
her visits. . . .

10.   The mother was ordered to undergo a psychological
evaluation with Nancy Sizemore, MA, LPA. Ms. Sizemore
submitted her report in August 2018. She diagnosed the
mother with the following conditions:

          Borderline intelligence
          Attention    deficit    hyperactivity     disorder
           (“ADHD”)
          Generalized anxiety disorder
          Paranoid personality disorder
          Mild neurocognitive disorder

11.    Ms. Sizemore opined that and the court finds the
mother does not appear able to make appropriate decisions
in the best interests of the children and reunification is not
likely to be in the best interest of the children. The mother
does not appear to learn from past mistakes and blames
others for her situation. She does not appear capable to
make the necessary changes in her life to provide a safe
and secure environment for the children.

12.    There are no appropriate relative placements for the
children. . . .

13.   It is not possible for the children to be returned to
the home of a parent immediately or within the next six
months and it would be contrary to the children’s health
and safety and their general welfare to be returned to the
home of a parent. The parents have not completed their
case plans. The mother is unable to appropriately parent
the children. The mother has not separated herself from
Thomas. . . . Neither parent has demonstrated such
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                    stability which would warrant the children being returned
                    to their care. As a result, the Court finds that the
                    permanent plan should be changed from reunification to a
                    primary permanent plan of adoption and a secondary plan
                    of custody with an approved caretaker. DSS should be
                    relieved of any further obligation to attempt to reunify the
                    children with a parent.

¶ 22         We find no merit to respondent-mother’s argument. Although the trial court

       did not use the precise language of N.C.G.S. §§ 7B-906.1(d)(3) and -906.2(b) in its

       findings, the court addressed the substance of both statutes’ concerns. See In re

       L.M.T., 367 N.C. at 168, 752 S.E.2d at 455 (“The trial court's written findings must

       address the statute's concerns, but need not quote its exact language.”). The trial

       court also found sufficient evidentiary facts that demonstrate the basis for its findings

       of fact: “[i]t is not possible for the children to be returned to the home of a parent

       immediately or within the next six months and it would be contrary to the children’s

       health and safety and their general welfare to be returned to the home of a parent.”

       (emphasis added). Specifically, the trial court cited respondent-mother’s failure to

       obtain stable and appropriate housing or employment, her continued cohabitation

       with Thomas despite the children’s detailed accounts of his domestic violence against

       her, the unfavorable results of her psychological evaluation, and her apparent

       inability “to learn from past mistakes and . . . make the necessary changes in her life

       to provide a safe and secure environment for the children.”

¶ 23         Respondent-mother insists the evidence and the trial court’s findings show
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       that “[r]eunification efforts between Ava, Aiden, Hunter and their mother would not

       have been clearly unsuccessful,” given her progress in completing some components

       of her case plan. As explained above, however, the trial court’s findings of fact support

       its conclusion of law that reunification with either parent would be “contrary to the

       children’s health and safety[.]”     Accordingly, we affirm the order eliminating

       reunification from the permanent plan as to respondent-mother.

¶ 24         Respondent-father claims the trial court failed to make sufficient findings to

       comply with N.C.G.S. § 7B-906.2(d)(1)–(4) (2019) in eliminating reunification from

       the children’s permanent plan. Subsection 7B-906.2(d) requires the trial court to

                    make written findings as to each of the following, which
                    shall demonstrate the [parent’s] degree of success or failure
                    toward reunification:

                        (1) Whether the parent is making adequate progress
                            within a reasonable period of time under the plan.

                        (2) Whether the parent is actively participating in or
                            cooperating with the plan, the department, and the
                            guardian ad litem for the juvenile.

                        (3) Whether the parent remains available to the court,
                            the department, and the guardian ad litem for the
                            juvenile.

                        (4) Whether the parent is acting in a manner
                            inconsistent with the health or safety of the juvenile.

       N.C.G.S. § 7B-906.2(d)(1)–(4).     While the findings need not track the statutory

       language, they “must make clear that the trial court considered the evidence in light

       of whether reunification would be futile or would be inconsistent with the juvenile’s
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       health, safety, and need for a safe, permanent home within a reasonable period of

       time.” In re L.E.W., 375 N.C. 124, 129–30, 846 S.E.2d 460, 465 (2020). Moreover, as

       previously noted, “incomplete findings of fact in the cease reunification order may be

       cured by findings of fact in the termination order.” In re L.M.T., 367 N.C. at 170, 752

       S.E.2d at 457.

¶ 25         Here, the permanency planning order includes the following findings

       regarding respondent-father’s progress and prospects for reunification:

                    8.     The father signed a case plan on April 6, 2017. He
                    has been in and out of prison and treatment for substance
                    abuse. As a result of his incarceration and treatment the
                    father has only had three visits with the children since they
                    have been in DSS custody. He signed a voluntary support
                    agreement and has a child support arrearage in excess of
                    $5,000.00

                    9.     Both parents have been allowed supervised
                    visitation, twice monthly for one hour, contingent on
                    passing drug screens. . . . As noted above, the father has
                    only had three visits with the children during the time that
                    they have been in DSS custody.

                    ....

                    12.    There are no appropriate relative placements for the
                    children. . . .

                    13.    It is not possible for the children to be returned to
                    the home of a parent immediately or within the next six
                    months and it would be contrary to the children’s health
                    and safety and their general welfare to be returned to the
                    home of a parent. The parents have not completed their
                    case plans. . . . Neither parent has demonstrated such
                    stability which would warrant the children being returned
                    to their care. As a result, the Court finds that the
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                     permanent plan should be changed from reunification to a
                     primary permanent plan of adoption and a secondary plan
                     of custody with an approved caretaker. DSS should be
                     relieved of any further obligation to attempt to reunify the
                     children with a parent.

¶ 26          In its three orders terminating respondents’ parental rights, the trial court

       listed the requirements of respondent-father’s case plan and made the following

       additional findings regarding the N.C.G.S. § 7B-906.2(d) criteria:6

                     25.  The Respondent-Father was incarcerated from
                     November 2017 until January 2018.

                     26.  The Respondent-Father failed to complete his anger
                     management assessment.

                     27.   The Respondent-Father signed a voluntary support
                     agreement in 2017 to pay child support in the amount of
                     $295.00 per month. . . . At the time of the termination
                     hearing, [he] had a child support arrearage of
                     approximately $10,000.00.

                     ....

                     29.   The Respondent-Father participated in a substance
                     abuse assessment and went through an inpatient
                     treatment program in the DART program.

                     30.   The Respondent-Father suffered a substance abuse
                     relapse in September 2019. On September 23, 2019, the
                     Respondent-Father was ordered to submit a drug screen by
                     the Court.      This drug screen was positive for
                     methamphetamine.

                     31.    The    Respondent-Father        has    not   consistently


              6 The trial court entered a separate termination order for Ava, Aiden, and Hunter.

       The three orders contain virtually identical findings of fact and conclusions of law, altered
       only to account for the name, age, and sex of the child at issue.
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                    submitted himself for drug screening requested by DSS.
                    He was asked to submit to forty-one (41) drug screens but
                    only took twelve (12) during the pendency of the underlying
                    juvenile action.

                    32.   The Respondent-Father also refused to take some
                    drug screens. . . .

                    33.     The Respondent-Father has not consistently
                    participated in visitation with the minor child[ren].
                    During the pendency of the underlying juvenile action, the
                    Respondent-Father could have participated in forty (40)
                    supervised visits with the child[ren] but only had five (5)
                    visits.

                    34.    The Respondent-Father did not complete parenting
                    classes.

                    ....

                    45.    . . . Neither parent made any appreciable progress in
                    their case plan. Neither Respondent has shown that they
                    could serve as a responsible custodian for the child.
                    Neither parent has maintained stable and appropriate
                    housing.

       As respondent-father does not contest any of these findings, they are binding on

       appeal.

¶ 27         Respondent-father first contends that the trial court’s bare finding that he

       “ha[d] not completed” his case plan at the time of the permanency planning hearing

       is insufficient to address the criteria required by N.C.G.S. § 7B-906.2(d)(1). However,

       the trial court made additional findings that satisfy N.C.G.S. § 7B-906.2(d)(1).

       Specifically, the trial court found that respondent-father: had been “in and out of

       prison and treatment for substance abuse” since signing his case plan on April 6,
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       2017; had visited the children just three times in the twenty months since they

       entered DSS custody; had accumulated “a child support arrearage in excess of

       $5,000.00”; and had not “demonstrated such stability which would warrant the

       children being returned to [his] care.” Additional findings in the termination orders

       include that, although he obtained a substance abuse assessment and attended

       inpatient treatment through the DART program, respondent-father: failed to

       complete an anger management assessment or parenting classes; failed to secure

       stable housing; attended fewer than one-third of the drug screens requested by DSS

       and refused to submit to other screens; and made no “appreciable progress” on his

       case plan even at the time of the termination hearing in June 2020. See generally In

       re L.M.T., 367 N.C. at 170, 752 S.E.2d at 457 (concluding that “incomplete findings

       of fact in the cease reunification order may be cured by findings of fact in the

       termination order”). Accordingly, these findings more than satisfy the requirements

       of N.C.G.S. § 7B-906.1(d)(1).

¶ 28         Respondent-father further asserts the trial court made “no findings”

       addressing the remaining criteria in N.C.G.S. § 7B-906.2(d)(2)–(4). We disagree.

¶ 29         While not utilizing the statutory language, the trial court’s findings “address

       the necessary statutory factors by showing that the trial court considered the

       evidence in light of whether reunification would be futile or would be inconsistent

       with the juvenile’s health, safety, and need for a safe, permanent home within a
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       reasonable period of time[.]” In re H.A.J., 377 N.C. 43, 2021-NCSC-26, ¶ 16 (cleaned

       up). The findings depict respondent-father’s minimal degree of engagement with his

       case plan and cooperation with DSS, specifically with DSS’s requests for drug screens.

       In addition to noting respondent-father’s attendance at the hearing, the trial court

       found respondent-father had been “in and out of prison,” undergone “treatment for

       substance abuse,” and “ha[d] not consistently submitted himself for drug screening

       requested by DSS[.]”      These findings reflected respondent-father’s less-than-

       consistent availability to the court and DSS.

¶ 30         With regard to N.C.G.S. § 7B-906.2(d)(4), the trial court found that respondent-

       father was incarcerated from November 2017 to January 2018; that he failed to

       address the anger management and parenting skills components of his case plan; that

       he either failed to attend or refused to participate in most of the requested drug

       screens requested by DSS; that he failed to obtain stable housing; and that “it would

       be contrary to the children’s health and safety and their general welfare to be

       returned to” his care. Therefore, the trial court addressed the purpose of N.C.G.S.

       §7B-906.2(d)(4).

¶ 31         Respondent-father next argues the trial court failed to make the conclusions of

       law required by N.C.G.S. § 7B-906.2(b)—i.e., “that reunification efforts clearly would

       be unsuccessful or would be inconsistent with the juvenile[s’] health or safety.”

       However, the trial court satisfied the substance of N.C.G.S. § 7B-906.2(b) by finding
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       that “[i]t is not possible for the children to be returned to the home of a parent or

       within the next six months and it would be contrary to the children’s health and safety

       and their general welfare to be returned to the home of a parent.” (emphasis added).

       See In re L.M.T., 367 N.C. at 169, 752 S.E.2d at 456 (holding that “[w]hile [the]

       findings of fact do not quote the precise language [the statute], the order embraces

       the substance of the statutory provisions requiring findings of fact that further

       reunification efforts “would be futile” or “would be inconsistent with the juvenile's

       health, safety, and need for a safe, permanent home within a reasonable period of

       time.”).

¶ 32          To the extent respondent-father separately contends the trial court’s

       evidentiary findings focus solely on his “completion of a case plan” and, therefore, do

       not support its findings of fact under N.C.G.S. § 7B-906.2(b), we conclude the court’s

       findings adequately explain the basis for its determination that there were no

       realistic prospects for reunification. At the time of the permanency planning hearing,

       the children had been in DSS custody for more than twenty months, and respondent-

       father had been afforded more than nineteen months to remedy the conditions

       leading to their adjudication as neglected in February 2017. Respondent-father

       continued to engage in activities resulting in his incarceration,7 repeatedly refused to



              7  Although respondents have not provided this Court with a transcript of the
       permanency planning hearing, the record suggests respondent-father had been incarcerated
       for violating his probation.
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       submit to drugs screens, and had made no meaningful effort to engage with his case

       plan by attaining personal stability or providing support for the children. These facts

       fully support a determination that returning the children to respondent-father at any

       time in the foreseeable future would be contrary to their health, safety, and general

       welfare. See In re L.R.L.B., 377 N.C. 311, 2021-NCSC-49 ¶ 25 (stating that the “trial

       court thus made the finding required by N.C.G.S. § 7B-906.2(b) to eliminate

       reunification from the permanent plan” by finding “[t]hat further reasonable efforts

       to prevent or eliminate the need for placement of the juvenile are clearly futile or

       inconsistent with the juvenile’s need for a safe, permanent home within a reasonable

       period of time.”).

¶ 33          Finally, respondent-father claims the trial court failed to make the findings

       required by N.C.G.S. § 7B-906.2(c) (2019), which provides:

                     (c) Unless reunification efforts were previously ceased, at
                     each permanency planning hearing the court shall make a
                     finding about whether the reunification efforts of the
                     county department of social services were reasonable. In
                     every subsequent permanency planning hearing held
                     pursuant to G.S. 7B-906.1, the court shall make written
                     findings about the efforts the county department of social
                     services has made toward the primary permanent plan and
                     any secondary permanent plans in effect prior to the
                     hearing. The court shall make a conclusion about whether
                     efforts to finalize the permanent plan were reasonable to
                     timely achieve permanence for the juvenile.

¶ 34          The trial court’s orders refer to DSS’s efforts with respondent-father, DSS’s

       consideration of relative placements for the children, visitations by respondent-
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father, and the voluntary support agreement entered with DSS. The termination

order includes additional findings of fact detailing DSS’s efforts, including efforts

relating to the development and implementation of a case plan tailored to assist

respondent-father and respondent-mother in correcting the conditions that led to

Ava, Aiden, and Hunter’s removal in order to facilitate reunification; home

inspections of respondent-mother’s residence; offering respondent-mother’s boyfriend

the opportunity to participate in a case plan; requests for drug screens offering forty

supervised visitations for respondent-father; providing transportation for supervised

visitations for respondent-father; and attempts to and verification of respondent-

father’s reported residences. The orders which detail the efforts made by DSS to

reunify the children with respondent-father, in addition to other findings related to

efforts with respondent-mother, include “written findings about the efforts the county

department of social services has made toward the primary permanent plan and any

secondary permanent plans in effect prior to the hearing,” N.C.G.S. § 7B-906.2(c).8


       8 The trial court’s findings also state that a written report submitted by the DSS social

worker is “incorporated herein as Findings of Fact.” However, that report is not included in
the record on appeal. Although the document’s absence does not affect our ruling here as the
trial court made the necessary findings of fact as to DSS’s efforts, we reiterate the appellant’s
burden of assembling a record on appeal that affirmatively demonstrates the errors asserted
in the appeal.
        As the trial court may consider such materials as the written report submitted by a
DSS social worker at a permanency planning hearing, this report likely set forth additional
details concerning DSS’s efforts that the trial court found relevant. See N.C.G.S. § 7B-906.1(c)
(2019) (“The court may consider any evidence, including hearsay evidence as defined in G.S.
8C-1, Rule 801, or testimony or evidence from any person that is not a party, that the court
finds to be relevant, reliable, and necessary to determine the needs of the juvenile and the
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       While the trial court’s orders lack an express finding using the term “reasonable” or

       “reasonableness” regarding DSS’s efforts, this Court has recognized that in regard to

       other statutory requirements for findings in a trial court order, “[t]he trial court’s

       written findings must address the statute’s concerns, but need not quote its exact

       language.” In re L.M.T., 367 N.C. at 168, 752 S.E.2d at 455 (addressing sufficiency of

       findings to satisfy former N.C.G.S. § 7B-507(b)(1) (2011)); see also In re H.A.J., 377

       N.C. 43, 2021-NCSC-26, ¶ 16 (addressing sufficiency of findings to satisfy N.C.G.S.

       § 7B-906.2(d)). We conclude that the trial court’s findings of fact address the statutory

       concern of N.C.G.S. § 7B-906.2(c).

¶ 35          Our conclusion is further supported by the failure of respondent-father to

       identify how DSS’s efforts for reunification were not reasonable. Respondent-father

       claims that “the efforts of DSS toward reunification were not reasonable, particularly

       with unreasonable limits on the children’s time with respondent-father,” but we find

       no merit to his complaint. Pursuant to N.C.G.S. § 7B-905.1, it is the trial court’s duty

       to “provide for visitation that is in the best interests of the juvenile consistent with

       the juvenile’s health and safety, including no visitation.” N.C.G.S. § 7B-905.1(a)

       (2019). It was not DSS, but the trial court that made respondents’ visitation with the

       children “contingent upon clean drug screens” as part of its initial “Juvenile



       most appropriate disposition.”). To the extent the report was submitted to the trial court and
       is germane to his appeal, it was incumbent upon respondent-father to make it a part of the
       appellate record.
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       Disposition Order” entered on February 14, 2017. The trial court maintained this

       condition in each subsequent order. Whatever actions DSS must undertake to meet

       the “reasonable efforts” standard, it is not obliged to defy the trial court’s orders. It

       was also the trial court that established that DSS was not “required to provide visits

       to any incarcerated parent[,]” and significantly, there is no indication that

       respondent-father requested visitation with the children while incarcerated and only

       exercised five out of forty supervised visitations offered by DSS. Accordingly, we

       reject respondent-father’s assignment of error by the trial court or DSS.

                 III.     Orders Terminating Respondents’ Parental Rights

¶ 36         Respondent-mother contends the trial court erred in adjudicating the existence

       of grounds for the termination of her parental rights under N.C.G.S. § 7B-1111(a).

       Respondent-father does not raise any claims of error with regard to the termination

       orders.

       A. Standard of Review

¶ 37         Under this Court’s well-established standard of review,

                        we review a trial court’s adjudication of grounds to
                        terminate parental rights to determine whether the
                        findings are supported by clear, cogent and convincing
                        evidence and the findings support the conclusions of law.
                        Findings of fact not challenged by respondent are deemed
                        supported by competent evidence and are binding on
                        appeal. The trial court’s conclusions of law are reviewable
                        de novo on appeal.

       In re B.T.J., 377 N.C. 18, 2021-NCSC-23, ¶9 (cleaned up). This Court has also held
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       that “an adjudication of any single ground for terminating a parent’s rights under

       N.C.G.S. § 7B-1111(a) will suffice to support a termination order. Therefore, if this

       Court upholds the trial court’s order in which it concludes that a particular ground

       for termination exists, then we need not review any remaining grounds.” In re S.R.F.,

       376 N.C. 647, 2021-NCSC-5 ¶ 9 (quoting In re J.S., 374 N.C. 811, 815, 845 S.E.2d 66,

       71 (2020)).

¶ 38         We will address the trial court’s adjudication that respondent-mother willfully

       failed to pay a reasonable portion of the children’s cost of care under N.C.G.S. § 7B-

       1111(a)(3). Under this provision, the trial court may terminate the rights of a parent

       whose child is in DSS custody if “the parent has for a continuous period of six months

       immediately preceding the filing of the petition or motion willfully failed to pay a

       reasonable portion of the cost of care for the juvenile although physically and

       financially able to do so.” N.C.G.S. § 7B-1111(a)(3). The determinative six-month

       period in this case is October 23, 2018, to April 23, 2019, the day DSS filed its

       petitions to terminate respondents’ parental rights.

¶ 39         The trial court made the following findings of fact pertinent to its adjudication

       under N.C.G.S. § 7B-1111(a)(3) and to respondent-mother’s arguments on appeal:

                     3.     From the preliminary hearing held before the trial
                     of this action, the petitioner presents the following issues
                     for adjudication:

                           ....
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       c.     The minor children have been in the care and
       custody of DSS for a continuous period of six (6)
       months or more next preceding the filing of these
       petitions. During this period, the Respondents have
       willfully failed to pay a reasonable portion of the
       costs of care for the minor children, although each of
       the parents has been physically and financially able
       to do so N.C.G.S. § 7B-1111(a)(3);

       ....

....

6.    The minor children have been in the legal and
physical custody of DSS at all times since January 10,
2017.

....

21.    The Respondent-Mother does not have a valid
driver’s license and relies on her mother and Thomas . . .
for transportation.

....

23.   The Respondent-Mother has not maintained stable
employment. At the time of the termination hearing, she
was unemployed. The Respondent-Mother has reported
past work at Sonic restaurant and Lydall Manufacturing.
She has also reported work as a babysitter.

24.    The Respondent-Mother signed a voluntary support
agreement to pay child support for all of her children in the
amount of $112.00 per month. The Respondent-Mother has
failed to consistently pay child support and currently has a
child support arrearage of $3,953.00. The Respondent-
Mother’s last child support payment was made on October
15, 2018.

....

38.    DSS has expended significant funds providing for
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                    the cost of care for the minor children since they have been
                    in care. DSS has expended the sum of $1,564.00 per month
                    per child since the children have been in custody beginning
                    in January 2017.

                    39.   The Respondents have failed to pay a reasonable
                    portion of the cost of care for the minor children. Each of
                    the Respondents has had the physical ability to engage in
                    employment and to provide support for the minor child.

                    ....

                    46.   Each Respondent has willfully failed to pay a
                    reasonable portion of the cost of care for the minor children
                    while they have been in the care and custody of DSS.

¶ 40         Based on these findings, the trial court concluded as follows:

                    2.     The Petitioner has proven the following statutory
                    grounds for terminating the Respondent-Mother’s parental
                    rights by clear, cogent, and convincing evidence:

                           ....

                           c.    The Respondent-Mother has willfully failed to
                           pay a reasonable portion of the cost of care for the
                           juveniles, although she has had the ability to do so,
                           while the children have been in the custody of DSS
                           N.C.G.S. § 7B-1111(a)(3).

¶ 41         Respondent-mother challenges the trial court’s finding that her nonpayment

       of support was willful in Finding of Fact 46 and Conclusion of Law 2(c). “The

       willfulness of a parent’s actions is a question of fact for the trial court.” In re K.N.K.,

       374 N.C. 50, 53, 839 S.E.2d 735, 738 (2020).

¶ 42         Respondent-mother acknowledges having paid nothing toward the children’s

       cost of care during the six months at issue. However, she contends the trial court’s
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       order fails to support a finding of willfulness because “there are no findings that

       address [her] income, employment, or capacity for the same during the six-month

       period relevant to [N.C.G.S. §] 7B-1111(a)(3).” We disagree.

¶ 43         “A parent is required to pay that portion of the cost of foster care for the child

       that is fair, just and equitable based upon the parent’s ability or means to pay.” In re

       S.E., 373 N.C. 360, 366, 838 S.E.2d 328, 332 (2020) (quoting In re Clark, 303 N.C.

       592, 604, 281 S.E.2d 47, 55 (1981)). Here, the parents signed a voluntary support

       agreement. A voluntary support agreement has “the same force and effect as an order

       of support entered by that court, and shall be enforceable and subject to modification

       in the same manner as is provided by law for orders of the court in such cases.”

       N.C.G.S. § 110-132(a3) (2019).

¶ 44         The evidence and the trial court’s findings show respondent-mother paid

       nothing toward the children’s cost of care during the six-month period immediately

       preceding DSS’s filing of the petitions to terminate her parental rights, despite

       having agreed to pay $112.00 per month in support and having demonstrated an

       ability to work by multiple reported periods of employment. Respondent-mother

       never moved to modify or nullify the voluntary agreement, and she was thus subject

       to a valid order “that established her ability to financially support for her children.”

       In re J.M., 373 N.C. 352, 359, 838 S.E.2d 173, 178 (2020).

¶ 45         Accordingly, we hold the trial court did not err in finding respondent-mother’s
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       nonpayment to be willful and in concluding that grounds existed to terminate her

       parental rights under N.C.G.S. § 7B-1111(a)(3). Therefore, we need not review the

       court’s additional grounds for termination under N.C.G.S. § 7B-1111(a)(1), (2), and

       (6).

¶ 46          Respondent-mother does not separately challenge the trial court’s conclusion

       at the dispositional stage of the termination proceeding that terminating her parental

       rights is in the children’s best interests. Accordingly, we affirm the termination

       orders as to respondent-mother.

                                      IV.    Conclusion

¶ 47          In both respondent-mother’s and respondent-father’s appeal, we affirm the

       trial court’s order eliminating reunification from the permanent plan and the orders

       terminating their parental rights in Ava, Aiden, and Hunter.

              AFFIRMED.
